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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DARIUS MANNING                                                                         PLAINTIFF
ADC #152493

v.                                   4:21-cv-00690-LPR-JJV

POWELL                                                                              DEFENDANT

                   PROPOSED FINDINGS AND RECOMMENDATIONS

                                        INSTRUCTIONS

       The following recommended disposition has been sent to United States District Judge Lee

P. Rudofsky. Any party may serve and file written objections to this recommendation. Objections

should be specific and should include the factual or legal basis for the objection. If the objection

is to a factual finding, specifically identify that finding and the evidence that supports your

objection. Your objections must be received in the office of the United States District Court Clerk

no later than fourteen days from the date of the findings and recommendations. Failure to file

timely objections may result in waiver of the right to appeal questions of fact.

                                     Mail your objections to:

                                Clerk, United States District Court
                                   Eastern District of Arkansas
                              600 West Capitol Avenue, Suite A149
                                   Little Rock, AR 72201-3325


                                         DISPOSITION
       Darius Manning (“Plaintiff”) filed a pro se Complaint pursuant to 42 U.S.C. § 1983. (Doc.

No. 2). At the time Plaintiff filed this lawsuit, he was incarcerated at the Varner Unit of the

Arkansas Division of Correction. (Id.) On August 24, 2021, mail from the Court to Plaintiff was
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returned as undeliverable. (Doc. No. 5.) On August 26, 2021, I directed Plaintiff update his

address within thirty (30) days. (Doc. No. 6.) Plaintiff was warned that if he did not do so, I would

recommend that this case be dismissed without prejudice. (Id.) More than 30 days have passed

and Plaintiff has not updated his address or otherwise responded to my August 26, 2021 Order.

Mail from the Court to Plaintiff continues to be returned as undeliverable. (Doc. No. 7.)

Accordingly, Plaintiff’s Complaint should be dismissed without prejudice. LOCAL RULE 5.5(c)(2).

       IT IS, THEREFORE, RECOMMENDED that:

       1.       Plaintiff’s Complaint (Doc. No. 2) be DISMISSED without prejudice.

       2.       The Court certify, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma pauperis

appeal from any Order adopting this recommendation and the accompanying Judgment would not

be taken in good faith.

       DATED this 29th day of September 2021.



                                                      ______________________________
                                                      JOE J. VOLPE
                                                      UNITED STATES MAGISTRATE JUDGE




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